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     8                     UNITED STATES DISTRICT COURT
     9                    CENTRAL DISTRICT OF CALIFORNIA
    10                            SOUTHERN DIVISION
    11
         IN RE ALLERGAN, INC.                       Case No. 14-cv-02004-DOC (KES)
    12   SECURITIES LITIGATION
                                                    SPECIAL MASTER ORDER NO. 4
    13                                              RE PERSHING DEFENDANTS’
                                                    MOTION TO COMPEL
    14                                              FURTHER RESPONSES FROM
                                                    PLAINTIFFS TO
    15                                              INTERROGATORIES AND
                                                    REQUESTS FOR ADMISSION
    16
                                                    Discovery Master: Robert C. O’Brien
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     1         The instant order results from a dispute concerning Plaintiffs’ alleged
     2   “deficient written discovery responses” to the Pershing Defendants’
     3   (“Defendants”) Interrogatories and Requests for Admission. The Defendants
     4   request the Court order (1) Plaintiffs to amend their responses to Interrogatory Nos.
     5   1, 3, and 4 and (2) deem each unanswered Request for Admission admitted, or in
     6   the alternative, order Plaintiffs to amend their answers. Plaintiffs respond that the
     7   Defendants failed to meet and confer in good faith and, in any event, Plaintiffs
     8   provided good faith responses to Defendants Interrogatories and Requests for
     9   Admissions. Further, Plaintiffs claim that Defendants’ motion is now moot
    10   because Plaintiffs have already served amended responses. I heard oral argument
    11   from all parties on September 9, 2016. 1
    12                                     BACKGROUND
    13         This lawsuit arises out of Valeant’s attempted hostile takeover of Allergan,
    14   Inc. Plaintiffs allege that, as a part of that hostile takeover attempt, Defendants and
    15   Valeant (who are also defendants in this action) formed an agreement whereby a
    16   fund controlled by the co-defendants acquired a significant stake in Allergan to
    17   facilitate Valeant’s takeover bid. According to Plaintiffs, this arrangement violated
    18   Section 14(e) of the Exchange Act and Rule 14e-3 promulgated thereunder.
    19         On April 14, 2016, Defendants served Plaintiffs with Interrogatories and
    20   Requests for Admissions designed to illicit Plaintiffs’ key factual contentions and
    21   theories of the case. See ECF No. 169-1, at 41. Defendants’ served four
    22   interrogatories focusing on: (1) Plaintiffs’ trading history in Allergan securities, (2)
    23   Plaintiffs’ contentions as to what “substantial steps” were taken by Defendants to
    24   commence a tender offer, (3) Plaintiffs’ contentions as to what material, non-public
    25   information was allegedly possessed by Defendants, and (4) when that information
    26   1
          Michael Shipley of Kirkland & Ellis LLP presented argument on behalf of
    27   Pershing Square. Eli Greenstein of Keesler Topaz Meltzer & Check, LLP presented
         argument on behalf of the Plaintiffs. Other counsel for Pershing and Plaintiffs, along
    28
         with counsel for Valeant, also appeared but did not argue.
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     1   was disclosed to the market. See id. at 12-24. Defendants also served twenty-five
     2   Requests for Admissions, asking Plaintiffs to admit or deny claims which
     3   Plaintiffs’ lead counsel—Bernstein Litowitz—previously alleged in a verified
     4   complaint in an earlier lawsuit against Allergan. 2 See id. at 67-69.
     5              Plaintiffs contend that “Defendants received all the information to which
     6   they were entitled at the time of Plaintiffs’ original responses in April 2016.” Id. at
     7   4. Nevertheless, Defendants determined to meet and confer with Plaintiffs
     8   regarding their responses, which Defendants thought to be evasive, incomplete, or
     9   improper. On April 27, 2016, Defendants sent a meet and confer letter detailing
    10   why they believed Plaintiffs’ responses were deficient. Id. at 41. On May 9, 2016,
    11   the parties engaged in a telephone conference discussing the same. Id. During the
    12   call, Plaintiffs took issue with the lack of clarity and legal authority in Defendants’
    13   meet and confer letter, but nevertheless agreed to supplement certain responses.
    14   Id.
    15              Six weeks elapsed with no movement by either party. Id. On June 21, 2016,
    16   Defendants served their portion of a Joint Stipulation requesting further responses
    17   from Plaintiffs to Defendants’ Interrogatories and Requests for Admissions. Id.
    18   Plaintiffs, on July 15, 2016, provided amended responses which they assert moot
    19   Defendants’ motion. See ECF No. 190. Except for Plaintiffs’ amended response
    20   to Interrogatory No. 2, Defendants’ determined that Plaintiffs’ amended
    21   interrogatory responses were still deficient. See ECF 192, at 2-3. With respect to
    22   Plaintiffs’ amended responses to Defendants’ Requests for Admissions,
    23   Defendants determined that said responses obviated the need to compel further
    24   responses. See id. at 3.
    25                                         DISCUSSION
    26         I.      Defendants Complied With Local Rule 37-1
    27
         2
          The previous action is In re Allergan, Inc. Stockholder Litig., C.A. No. 9609-CB
    28
         (Del. Ch. May 5, 2014)
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     1         Local Rule 37-1 requires the parties to meet and confer in good faith prior to
     2   the filing of any discovery motions. The “moving party is required to serve on the
     3   opposing party a letter requesting such a conference, and the letter must identify
     4   each discovery request in dispute, state briefly the moving party’s position as to
     5   each request, and specify the terms of the discovery order sought.” Ovieda v.
     6   Sodexo Operations, LLC, No. CV 12-1750-GHK (SSx), 2013 WL 7174021, at *2
     7   (C.D. Cal. April 11, 2013); see also L.R. 37-1 & 37-2. If counsel are unable to
     8   settle their differences at the conference—which must be held within 10 days after
     9   service of the letter—counsel “must formulate a written joint stipulation.” Id.
    10         Plaintiffs submit that Defendants’ violated the above-mentioned rule
    11   because they only: (1) submitted a single letter; (2) engaged in one phone call, (3)
    12   remained silent for six-weeks; and, without warning, (4) sent Plaintiffs a 55-page
    13   motion. See ECF No. 161-1, at 42. I disagree. Although Defendants did not go
    14   above and beyond Local Rule 37-1, they complied with it. Defendants’ seven-
    15   page letter, which outlines their position request-by-request and suggests how
    16   Plaintiffs can remedy their alleged deficiencies fits squarely within Local Rule 37-
    17   1. See ECF No. 169-16, Greenstein Dec. Ex. 2 (the “April 27 Letter”). Further,
    18   the parties engaged in a lengthy3 telephonic meet and confer where they continued
    19   to discuss the alleged deficiencies in detail. See ECF 169-15, Greenstein Decl. Ex.
    20   1; See Amini Innovation Corp. v. McFerran Home Furnishings, Inc., 300 F.R.D.
    21   406, 408 n.4 (C.D. Cal. 2014) (noting that even a “brief” telephonic conference of
    22   counsel “satisfied this District’s meet and confer requirements”). Because the
    23   conference and the following six-weeks yielded no compromise, Defendants were
    24   not unreasonable in submiting their portion of the Joint Stipulation. See ECF No.
    25   192, at 45; Local Rule 37-2 (“If counsel are unable to settle their differences, they
    26   shall formulate a written stipulation ….”); Ovieda, 2013 WL 7174021, at *2 (“If
         3
    27    Defendants suggest that during the telephonic meet and confer, the parties
         discussed the issues raised in the April 27 Letter for over 90 minutes. ECF No.
    28
         169-3, Norris Decl. ¶ 2.
                                                  -3–
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     1   counsel are unable to settle their differences at the conference, then they must
     2   formulate a written joint stipulation.”)
     3       II.      Plaintiffs’ Responses to Defendants’ Interrogatories
     4             Defendants take issue with Plaintiffs’ responses to Interrogatory No. 1 (the
     5   nature of Plaintiffs’ trading in Allergan securities); Interrogatory No. 3 (Plaintiffs’
     6   contentions as to what material non-public information was allegedly possessed by
     7   PS Fund during the time of its trading), and Interrogatory No. 4 (when that
     8   information was disclosed to the market). 4 Interrogatories No. 3 and No. 4 are
     9   contention interrogatories 5, while Interrogatory No. 1 is not.
    10             Defendants claim that Plaintiffs responded to these interrogatories with
    11   “junk, bafflegab, inappropriate hedging, and improper incorporation of the
    12   allegations of their pleadings.” ECF No. 169-1, at 41. Plaintiffs counter that
    13   Defendants’ “contention interrogatories” are premature, given that the discovery
    14   cut-off is nine months away and not a single deposition has been taken in this
    15   action. See id. at 45. Despite the alleged prematurity of Defendants’
    16   interrogatories, Plaintiffs further submit that they responded completely with “the
    17   information available” to them at the time of their responses. Id. at 47.
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           Defendants, in their Supplemental Memorandum (ECF No. 192), voluntarily
    20
         withdrew their motion as to Interrogatory No. 2, which addresses Plaintiffs’
    21   contentions as to what “substantial steps” were taken by Defendants to commence
         a tender offer.
    22   5
           “[T]he phrase ‘contention interrogatory’ is used imprecisely to refer to many
    23   different kinds of questions. Some people would classify as a contention
         interrogatory any question that asks another party to indicate what it contends....
    24
         Another kind of question ... asks an opposing party to state all the facts on which it
    25   bases some specified contention. Yet another form of this category of
         interrogatory asks an opponent to state all the evidence on which it bases some
    26
         specified contention … or to spell out the legal basis for … some specified
    27   contention.” In re Convergent Tech. Securities Litig., 108 F.R.D. 328, 332 (N.D.
         Cal. 1985).
    28

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     1                A. The Propriety of Contention Interrogatories at Early Stages of
     2                    Discovery
     3         Courts “have considerable discretion in deciding when (if ever) a party must
     4   answer contention interrogatories.” In re Convergent Tech. Securities Litig., 108
     5   F.R.D. 328, 333 (N.D. Cal. 1985). Indeed, it is generally accepted that courts
     6   “[will] not order responses to contention interrogatories until late in the pretrial
     7   period” and that “the wisest general policy is to defer propounding and answering
     8   contention interrogatories until near the end of the discovery period.” Id. at 336.
     9   Moreover, the “propounding party must present specific, plausible grounds for
    10   believing that securing early answers to its contention questions will materially
    11   advance the goals of the Federal Rules of Civil Procedure.” Cable & Computer
    12   Tech., Inc. v. Lockheed Saunders, Inc., 175 F.R.D. 646, 652 (C.D. Cal. 1997).
    13         On the other hand, “straightforward ‘factual’ contention interrogatories”
    14   should be answered earlier in the discovery process. Id. “Requiring the answer to
    15   these ‘factual’ contention interrogatories is ‘consistent with Rule 11 of the Federal
    16   rules of Civil Procedure, [which requires that] plaintiffs must have some factual
    17   basis for the allegations in their complaint ….” Id. (citation omitted); see also U.S.
    18   ex rel. O’Connell v. Chapman University, 245 F.R.D. 646, 649 (C.D. Cal. 2007).
    19   Of course, plaintiffs must only “answer [the] interrogatories with the information []
    20   they now possess ….” Id. (citation omitted).
    21         These guidelines must be applied under the general rule that the parties must
    22   be “cooperative, practical and sensible, and should turn to the courts … only in
    23   extraordinary situations that implicate truly significant interests.” Id. (citing
    24   Convergent, 108 F.R.D. at 331).
    25                       1. Interrogatory No. 1
    26         Interrogatory No. 1 asks Plaintiffs to “Identify and describe the nature of
    27   your ownership—record, beneficial or otherwise—in any Allergan Stock or
    28   Allergan Related Instruments from January 1, 2013 through March 18, 2015,

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     1   including, for any transactions in such securities … the market or exchange on
     2   which the trade was transacted. ECF No. 169-1, at 12.
     3         Plaintiffs did not provide a substantive response, but instead provided
     4   transactional records and trading data for the period February 1, 2014 to December
     5   31, 2014, pursuant to Federal Rule Civil Procedure 33(d). Plaintiffs insist that
     6   such records evidence “the date and price of each trade, the related broker and/or
     7   bank, the market for trading, the type and nature of security traded, and
     8   information regarding beneficial ownership.” ECF No. 190, at 2. Defendants
     9   counter that in addition to Plaintiffs refusing to provide documents for the period
    10   requested (January 1, 2013 to March 18, 2015), the documents do not identify the
    11   nature of ownership or the market or exchange on which the trade was transacted.
    12   ECF No. 169-1, at 49. Additionally, Defendants claim that the trading records
    13   exclusively focus on Allergan common stock, not related instruments as requested
    14   by the Interrogatory. Id.
    15         Of first order is an examination of Rule 33(d). Under said rule, a party may
    16   only provide a document in lieu of answering an interrogatory if “the burden of
    17   deriving or ascertaining the answer will be substantially the same for either party.”
    18   Fed. R. Civ. P. 33(d). Furthermore, the responding party “must specify where in
    19   the records the answers [can] be found.” Rainbow Pioneer No. 44-18-04A v.
    20   Hawaii-Nevada Inv. Corp., 711 F.2d 902, 906 (9th Cir. 1983). More specifically,
    21   the “responding party has a duty to specify by category and location the records
    22   from which he knows the answers to the interrogatories can be found.” Cambridge
    23   Electronics Corp. v. MGA Electronics, Inc., 227 F.R.D. 313, 323 (C.D. Cal. 2004).
    24         Plaintiffs burden Defendants with the task of making numerous inferences
    25   from identified documents about the nature of Plaintiffs’ ownership and the market
    26   or exchange on which Plaintiffs trades were transacted. Such fundamental and
    27   basic information as Plaintiffs’ form of ownership is certainly readily available to
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     1   Plaintiffs,6 yet would require more scrutinized analysis for Defendants to ascertain.
     2   This is in part because Plaintiffs merely identified documents purportedly
     3   containing information responsive to Defendants’ Interrogatory No. 1, without
     4   “specify[ing] where in the records the answers [can] be found.” Rainbow Pioneer,
     5   711 F.2d at 906; Cambridge Electronics Corp., 227 F.R.D at 323. Accordingly,
     6   not only was it improper for Plaintiffs to invoke Rule 33(d), Plaintiffs did not
     7   comply with its requirements. Plaintiffs are ORDERED to provide substantive
     8   responses to Defendants’ Interrogatory No.1, to the extent they possess the
     9   information, without reliance on Rule 33(d).
    10         Secondly, the documents are not completely responsive to Defendants’
    11   Interrogatory. The most responsive documents still lack Plaintiffs’ nature of
    12   ownership (see ECF. No. 195, Ex. 7) while other documents lack both Plaintiffs’
    13   nature of ownership and the market or exchange on which the trade was transacted
    14   (see ECF. No. 180, Ex. 7). Further, it appears the documents are limited to
    15   transactions in Allergan common stock only. Thus, to the extent Plaintiffs do own
    16   or trade related instruments, they are ORDERED to provide such information.
    17   Conversely, if Plaintiffs do not own or trade related instruments, they are
    18   ORDERED to state as such in their substantive response to Interrogatory No. 1.
    19         Defendants further contend that they are entitled to Plaintiffs trading
    20   information dating from January 1, 2013 through March 18, 2015. Plaintiffs
    21   counter that they have provided more than enough information by revealing trading
    22   information from February 1, 2014 to December 1, 2014—a time frame five times
    23   larger than the class period.7 I agree with Defendants’ premise that “trading
    24   outside the class period might show … that Plaintiffs’ purchases and sales were
    25   part of an overall strategy” that would have occurred even if Defendants had not
    26   6
           The sophistication of Lead Plaintiffs leads me to conclude that they certainly
    27   know or can identify their form of ownership in Allergan securities more readily
         than Defendants, who are less familiar with the documentation Plaintiffs provided.
    28   7
           The class period is from February 25, 2014 to April 21, 2014.
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     1   allegedly violated the securities laws. See generally Crocker-Citizens Nat. Bank v.
     2   Control Metals Corp., 566 F.2d 631, 636 n.3 (9th Cir. 1977) (noting that
     3   “affirmative evidence of non-reliance may defeat” 10b-5 liability); In re Nike Inc.
     4   Securities Litig., 181 F. Supp. 2d 1160, 1169 (D. Or. 2001) (recognizing that trades
     5   outside of the class period can help determine whether trades during the class
     6   period were out of line with prior practices). However, I am not persuaded that
     7   Defendants are entitled to trading information ranging from one year before and
     8   after the class period; rather, 90-days before the class period is more appropriate. 8
     9   See In re Bank of New York Mellon Corp. Forex Transactions Litig., Nos. 12 MD
    10   2335 (LAK) (JLC), 2013 WL 5769915, at *4 (S.D.N.Y. Oct. 24, 2013) (directing
    11   plaintiffs to produce investment history documents 90-days before the class
    12   period). Accordingly, Plaintiffs are ORDERED to provide responsive trading
    13   information from December 31, 2013 to December 1, 2014.
    14                       2. Interrogatory Nos. 3 & 4
    15         Defendants’ Interrogatory No. 3 asks Plaintiffs, “[i]f you contend that any
    16   Defendant was in possession of material information relating to a tender offer for
    17   Allergan stock, describe in detail that information you contend was possessed, and
    18   for each item of information identify the Defendant who was in possession of that
    19   information, the date he or it became in possession of the information, and why
    20   you contend it was material and related to a tender offer.” ECF No. 169-1, at 58.
    21   Defendants Interrogatory No. 4, in turn, asks Plaintiffs, “[f]or each item of material
    22   information identified in Interrogatory No. 3, identify the last date on which you
    23   contend that such information remained undisclosed to the public markets.” Id.
    24   Both these interrogatories are quintessential “contention interrogatories.”
    25         Plaintiffs responded to Interrogatory No. 3 by providing seven broad
    26

    27   8
          Because Plaintiffs have already provided trading information up to December 1,
    28   2014, I will not disturb that end date.

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   1   categories of non-public information 9 allegedly possessed by Defendants during
   2   the Class Period. See id. at 23-24. Plaintiffs did not substantively respond to
   3   Interrogatory No. 4, instead noting that any response is contingent on expert
   4   analysis which is forthcoming, and thus Defendants’ interrogatory is premature.
   5   See id. at 25. Defendants assert that Plaintiffs’ responses are tactful filibuster, akin
   6   to non-answers and that Plaintiffs are capable of answering the questions fully,
   7   particularly Interrogatory No. 4, without reliance on an expert. See id. at 59.
   8         Defendants’ concede that Interrogatory No. 3 is not limited to Plaintiffs’
   9   factual contentions, but also requests Plaintiffs identify their “theory of the case”
  10   by asking “why [information] was material and related to a tender offer.” See id. at
  11   21, 51. Materiality in a securities violation case is a nuanced issue implicating a
  12   delicate assessment of all known facts. See TSC Indus., Inc. v. Northway, Inc., 426
  13   U.S. 438, 450 (1976). Moreover, Defendants failed to articulate a justifiable
  14   reason to compel Plaintiffs’ response to this contention interrogatory. Defendants’
  15   assertion that the impending class certification deadline requires Plaintiffs’ to
  16   articulate why information was material is not persuasive. See Amgen Inc. v.
  17   Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1191 (2013) (holding that proof
  18   of materiality is not a prerequisite to class certification). Indeed, given the infancy
  19   of discovery, 10 it is entirely appropriate to defer compelling further response to this
  20   interrogatory, especially considering the detail articulated in Plaintiffs’ Complaint.
  21   See In re Convergent, 108 F.R.D. at 337 (stating that “an attempt to justify early
  22   use of contention interrogatories on the ground that answers would clarify the
  23   issues [is] not [ ] especially persuasive,” when the complaint is detailed). Further,
  24   Plaintiffs have claimed that their response to Interrogatory No. 3, although broad,
       9
  25     In Plaintiffs’ Amended Responses, Plaintiffs added one additional point about the
       information Defendants’ possessed and further clarified why the cited information
  26
       was material. See ECF No. 190, at 3.
       10
  27      As was noted during the September 9, 2016 telephonic hearing and in the Joint
       Stipulation (ECF No. 169-1, at 5), not a single deposition has been taken in this
  28
       action.
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   1   is based on “presently known facts.” ECF No. 190, at 3. Thus, Plaintiffs have
   2   complied with their obligation to “answer the interrogator[y] with information as
   3   they now possess.” Cable & Computer Tech., Inc., 175 F.R.D. at 652.
   4   Accordingly, Defendants motion to compel further response to Interrogatory No. 3
   5   is DENIED.
   6         Interrogatory No. 4, according to Plaintiffs, focuses on the measurement of
   7   Plaintiffs’ damages. ECF No. 169-1, at 61. Defendants, however, claim that the
   8   “information sought addresses objective factual contentions and Plaintiffs’ basic
   9   theory of the case.” Id.
  10         Plaintiffs are correct that the calculation of damages in a securities case is in
  11   the province of experts. See Sowell v. Butcher & Singer, Inc., 926 F.2d 289, 301
  12   (3d Cir. 1991) (“As a general rule, plaintiffs alleging securities fraud rely on expert
  13   testimony to establish both the fact of damage and the appropriate method of
  14   calculation.”); In re Warner Commn’cs Securities Litig., 618 F. Supp. 735, 744
  15   (S.D.N.Y. 1985) (recognizing that expert testimony is needed to fix the amount
  16   and existence of actual damages). Interrogatory No. 4, however, does not venture
  17   into the appropriate methods of calculation (the types of statistical models used),
  18   proof of damages, or fixing an actual amount of damages. It merely asks for the
  19   last date Plaintiffs contend information remained undisclosed to the public market.
  20         I do recognize that the disclosure date may be an “input” or an “assumption”
  21   in an expert’s analysis which could increase or decrease a damages amount. See,
  22   e.g., In re Williams Securities Litig.-WCG Subclass, 558 F.3d 1130, 1141-42 (10th
  23   Cir. 2009) (expert testimony involved discussion of disclosure date and
  24   information known before and after disclosure date); In re Groupon, Inc. Securities
  25   Litig., File No. 12 C 2450, 2015 WL 1043321, at * (N.D. Ill. Mar. 5, 2015) (expert
  26   required to select “big news days” in his analysis). But to the extent Plaintiffs have
  27   current knowledge of the “last date … information remained undisclosed to the
  28   public markets,” they must provide it. See Cable & Computer Tech., 175 F.R.D. at

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   1   651 (“[I]f the concern in answering a contention interrogatory before discovery has
   2   been completed, or even substantially done, is that the answer to the interrogatory
   3   may limit the party's proof at trial, that concern is misplaced ….”) In short,
   4   Plaintiffs may not withhold basic facts of which they have knowledge simply
   5   because forthcoming expert analysis may alter their presently held factual
   6   contentions. Accordingly, I ORDER Plaintiffs to identify the last date(s) that the
   7   information Plaintiffs identified in Interrogatory No. 3 remained undisclosed to the
   8   public market, to the extent they have knowledge of the date(s). 11
   9                B. The Merits of Plaintiffs’ General Objections
  10         As determined supra, the propriety of Plaintiffs “premature contention
  11   interrogatory” objection is dependent upon the information Defendants seek.
  12   Except for the “theory of the case” information asked for in Interrogatory No. 3,
  13   Plaintiffs “premature” objection does not obviate Plaintiffs’ obligation to respond
  14   to basic factual contention interrogatories, as ordered above.
  15         I do agree with Defendants that Plaintiffs’ objection based on “information
  16   that is publicly available” is improper. Plaintiffs assert that some of the
  17   information Defendants seek is publicly available through Plaintiffs “particularized
  18   60-page Complaint, and the multiple prior rulings by this Court sustaining those
  19   allegations.” ECF No. 161-1, at 65. Rule 33(b)(1), however, “requires that ‘[e]ach
  20   interrogatory shall be answered separately and fully.” O’Connell, 245 F.R.D. at
  21   650. Further, [i]t is well established that an answer to an interrogatory … should
  22   be complete in itself and should not refer to pleadings,” especially when elaborate
  23   review is required. See id. (quoting Scaife v. Boenne, 191 F.R.D. 590, 594 (N.D.
  24   Ind. 2000); see also Loop Al Labs Inc v. Gatti, Case No. 15-cv-00798-HSG(DMR),
  25   2016 WL 2342128, at *2 (N.D. Cal. May 3, 2016) (“‘[S]tatements in a complaint
  26   11
         If Plaintiffs do not have knowledge of the last date the material information
  27   identified in Interrogatory No. 3 remained undisclosed to the public market without
       consulting an expert, Plaintiffs should articulate this position in their interrogatory
  28
       response.
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   1   are just allegations; interrogatory responses, however, must contain facts, and the
   2   party responding must verify that those facts are true and correct to the best of [its]
   3   knowledge.”’) (quoting Hash v. Cate, No. C 08-03729 MMC (DMR), 2012 WL
   4   6043966, at *3 (N.D. Cal. Dec. 5 2012).
   5                                     CONCLUSION
   6         Pershing’s motion to compel further responses from Plaintiffs with respect
   7   to interrogatories and requests for admission is DENIED IN PART AND
   8   GRANTED IN PART as more fully explained above.
   9
       Dated: September 14, 2016                  It is so ordered
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  11
                                                  By: /s/ Robert C. O’Brien
  12                                                    ROBERT C. O’BRIEN
                                                        Discovery Master
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                                     SPECIAL MASTER ORDER NO. 4, CASE NO. 14-CV-02004-DOC (KES)
